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 Plaintiffs’ Exhibit D
                                                                                            1
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          Q4 Communication Strategy

                                                                    exhibitsticker.com
                                      October 4, 2012




                                                                              Towster 113
                                                                EXHIBIT
Agenda


• Review Q4 2012 Marketing Communications:
   o Approach/ Brief/ Creative Idea
   o National Creative Executions
         1.   Television
         2.   Out-of-Home
         3.   Radio
         4.   Print
         5.   Retail
    o   Comparative Messaging
    o   4G LTE
    o   Lifeline
    o   Appendix
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                                                    2
Communication Approach

  Heavy TV weight allows rotation of emotional and rational messaging.


        EMOTIONAL:
        Appealing to
          wants
                                                          Drive gross ads

                                                             Increase
                                                           consideration


                                                          Improve brand
         RATIONAL:                                         perceptions
          Fulfilling
           needs
                                                                            Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 4 of 73




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The Creative Brief



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Creative Idea
                                                                    6
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          Messaging Rotation and
             Creative Update
Television: Drive Awareness &
         Consideration
                   KEY TAKEAWAY:
• Delivers value proposition using both branded and
                 promotional messaging
                                                       Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 8 of 73




                                                                                                                           7
Television Rotation

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              10/15-11/18                            11/19-11/26                              11/27-12/29


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            10/15-11/18                            11/19-11/26                              11/27-12/29


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          o HTC/device offer                      o HTC/device offer                      o HTC/device offer
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Television Reel-WMV
                                                                                            10
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Television Reel- MOV
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Television 11/18-12/29
                                                                     12
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             O




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        FFPPO
Out-of-Home: Drive Awareness &
       Change Perceptions
              KEY TAKEAWAYS:
           • Android smartphones
                • Muve Music
         • Unlimited $50/mo plans
                                         Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 15 of 73




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OOH Rotation: Field Selected Messaging


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             10/1-11/18                         11/19-11/26                              11/27-12/29


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  McAllen, Corpus Christi, Laredo ,   • #) $.;B>5"$                • #) $.;B>5"$
  San Antonio
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30 Sheet
                                                                                   17
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                                                                                        confidential/proprietary
Bus Shelter
Radio: Drive Traffic to Retail
             KEY TAKEAWAYS:
       • Muve Music/total package
            • HTC smartphones
          • $50/mo unlimited rate
                                         Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 19 of 73




                                                                       18
              confidential/proprietary
Radio Rotation




             10/1-11/18                            11/19-11/26                         11/27-12/29



  Radio Spots:                          Radio Spot:                           Radio Spot:
  • I Have Muve Music                  • Muve Music on HTC                  • Muve Music on HTC
         • Unlimited music included          • $50/mo unlimited music,            • $50/mo unlimited music,
            in your wireless plan for            data, talk, and text w/ no            data, talk, and text w/ no
            one low rate                         contract                              contract
         • :15s Device Offer tag/            • HTC Beats Audio                    • HTC Beats Audio features
            HTC                                  features                           • HTC camera features
                                              • HTC camera features                • Device offer
                                              • Device offer
  Endorsers/Talking Points:
        • HTC/Muve/device offer        Endorsers/Talking Points:             Endorsers/Talking Points:
                                              • HTC/Muve/device offer              • HTC/Muve/device offer
                                                                                                                     Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 20 of 73




                                                                                                                    ?E
                                                 confidential/proprietary
Print: Drive Traffic to Retail
             KEY TAKEAWAYS:
       • Muve Music/total package
          • Android smartphones
          • $50/mo unlimited rate
                                         Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 21 of 73




                                                                       20
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ROP/Flyer 10/1-11/18
                                                                  Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 22 of 73




  * Holiday creative in development.
                                                                            21
                                       confidential/proprietary
FSI 11/19-11/26
                                                                                          Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 23 of 73




 Markets: Cincinnati, Dayton, Pittsburgh, Brownsville, Corpus Christi, Houston, Laredo,
 McAllen, Memphis, San Antonio                                                                      22
                                          confidential/proprietary
The Last Two Feet: Educate, Inform,
          Close the Sale
                 KEY TAKEAWAYS:
      • “Cricket gives me the total package”
        • New Muve Music Android Lineup
            • Exciting Device Launches
                • Gifts for Everyone
                                                Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 24 of 73




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                    confidential/proprietary
                                                                                          24
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                                                                                               confidential/proprietary
Holiday Storefront
                                                                                                    25
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                                                                                                         confidential/proprietary
Gen 2.75 Complete Store View
Holiday In-store 10/30 – 12/31

Representative Holiday Elements




                           Backwall Graphic
                                                                                     Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 27 of 73




  22x28 Posters                                              Free-standing Banners
                                                                                               26
                                  confidential/proprietary
Holiday In-store 10/30 – 12/31

Representative Holiday Elements
                                                                               Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 28 of 73




 Stacked Boxes              22x28
                            22x2
                               28 Posters
                                  Postters                   Ceiling Banners

                                                                                         27
                                  confidential/proprietary
                                                                                                       28
                                  Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 29 of 73




                                                                                                            confidential/proprietary
Promotional Overlay 11/13-11/26
                                                                     29
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           Comparative Messaging




                                                                          confidential/proprietary
Proposed Messaging Strategy



        Identify most effective medium for each message



           Use straightforward, “gloves off” approach that
           encourages action


        Pay off the Total Package value proposition; incorporate into
        current Q4 creative



            Customer takeaway from 360 conversation:
                                                                        Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 31 of 73




     “Cricket has rate plans at half the price of the competition
    PLUS unique offerings that give me the total package I want”
                                                                                  30
                              confidential/proprietary
Approach: Weave Comparative Into Existing Q4 Creative


o Promo 6 (10/1 to 11/12)
    o Integrate into radio talking points
    o Integrate into planned ROP
    o Social Media – FB 1-2x month, Twitter 3x month, Social Ads continuous
o Promo 7 (11/19 to 11/26)
    o Integrate into radio talking points
    o Integrate into planned ROP
    o Core Retail (integrate into planned merchandising)
    o Social Media– FB 1-2x month, Twitter 3x month, Social Ads continuous
o Promo 8 (11/27 TO 12/25)
    o Permed OOH – comparative board
    o Integrate into radio talking points
    o Integrate into planned ROP
    o Core Retail (integrate into planned merchandising)
    o Social Media– FB 1-2x month, Twitter 3x month, Social Ads continuous
                                                                                            Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 32 of 73




o 2013 -Evaluate opportunities for integration and potential dedicated comparative media


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                                                                                            confidential/proprietary
Comparative OOH
                     Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 34 of 73




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                                                                                               confidential/proprietary
Comparative Retail
                                                                     34
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                4G LTE




                                                                          confidential/proprietary
4G LTE Messaging Recommendation

4G LTE Markets
  o “4G LTE now available” message only in markets where service will be
  available
  o Support this message is all mediums


Non 4G LTE Markets
  o Use device centric message “4G LTE smartphones available”
  o Provide TV, ROP and retail support for the 4G LTE on the LG Regard
                                                                            Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 36 of 73




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                                confidential/proprietary
4G LTE Messaging

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                                  11/19-11/26                                                 11/27-12/29
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TV End Frame: 4G LTE Markets
                                                                                                        38
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TV End Frame: Non 4G LTE Markets




                                                                                                             confidential/proprietary
Retail 4G LTE Representative Layouts
                                                                                      Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 40 of 73




Representative 4G Kit Element
      (For 4G Markets)                                     4G Hol
                                                              Holiday Elements
                                                                liday Elements
       *Layout not final                                       (All Doors)
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                                confidential/proprietary
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OOH- Houston
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                                                                                             confidential/proprietary
OOH- South Texas
                                   Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 43 of 73




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OOH – 2013 Device Centric Option




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             Lifeline
Sample Lifeline Flighting

Total Lifeline Media ~$2.25MM, funded through cancelling one or two weeks of
October TV, depending on Area
•   Lifeline plans vary by Area based on funding
     and priorities
      o East Area plans executed in all markets, consist of
         formats varying by market including bus shelters,
         bus interiors, 8-sheets, currency jackets, shared
         mail
      o South Area plans executed in most markets include
         shared mail, currency jackets, and laundromats,
         convenience store posters, door hangers
            San Antonio, Austin, Memphis receive Direct Mail and
              Targeted OOH
            OKC and Tulsa receive GM & HIS Radio
            GA excluded as state has not launched
      o West Area plans executed in most markets include
         two direct mail drops targeted to current
         government-assistance recipients, low-credit-score
         consumers, and low income consumers
            Lists scrubbed for current customers to ensure gross
              add acquisition
                                                                               Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 45 of 73




            CA, NV excluded due to complexities of application
              process
            UT delayed until November launch

                                                                               44
Corporate Media recommends 360 approach including existing-customer
and community-outreach campaigns in conjunction with media
•   In-Store communications targeting existing customers and potential GAs
      o   Sales flow communication and sales incentive for converting existing customers
      o   Enhanced in-store materials – both educational and sales-focused
      o   SMS/MMS to qualifying customer base
      o   Voicemail drop to existing subs


•   Community Outreach targeting entities where consumers receive and/or
     learn about government assistance
      o Partnerships with local non-profit and government agencies
      o Sales/Education materials distributed at government agency locations
      o PR plan targeting local news, government and community agencies


•   Media targeting potential Lifeline subs – both existing and new customers –
     for both education and awareness
      o Direct Marketing: proven performance during media test includes shared mail, currency jackets
      o Place-based OOH: convenience store posters, laundromat signage, etc. that can be targeted to low-
         income areas
                                                                                                            Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 46 of 73




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Q412 Lifeline Radio Strategy

•   DJ Endorsers
      o Markets will partner with current Cricket endorsers to use existing endorsers who will speak credibly
         about Lifeline
               Talking Points available
               All Tier 1 & 2 markets have endorsers throughout Q4


•   PSAs
      o Markets will partner with local non-profit community groups to develop outreach programs and Public
         Service Announcements gearing toward quality of life.
      o Markets & community groups will partner with Radio stations to air PSAs
               PSAs will be available 9/24
      o Phd will provide list of stations that over-index against low-income population; markets will work directly
         with stations to secure PSA time


•   Partner with appropriate Radio shows
      o Markets will partner with local radio shows with programming elements that speak directly to the target
         consumer, providing advocacy, community and civic awareness to underserved communities.
      o Opportunities for educational advertorials that integrate Cricket Lifeline messaging yet still provide insight
         or tips about topics relevant to the target audience will also be explored.
      o Markets will work directly with station to develop messaging and partnerships
                                                                                                                          Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 47 of 73




                                                                                                                          46
  360 Messaging Overview

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NOTE: All layouts not final
Radio

Approach
• :60 announcer spot to drive awareness Lifeline product and the savings
    o :15 offer tag communicates Lifeline discount by state
    o Listen to “A Lifeline”


• Endorser talking points communicate Lifeline product & benefits
    o See appendix for full talking points
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Bus Shelter & Interior Bus Cards
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                                                                               50
8 sheet
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                                                                                           51
Flyer & Door Hanger
                 Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 53 of 73




                                                                                      52
                Back Spanish/Legal
               Front - English
Money Sleeve
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                                                                                                 53
Direct Mail & Shared Mail
Representative Retail Elements

NOTE: Layouts not final




                                                             2-up Flyer




     Easel-Back           State-specific Poster
   Brochure Holder
                                                                            Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 55 of 73




                                                            Business Card

                                                                                        54
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Lifeline Wall Treatment (utilizing PAYGo or Broadband Fixtures)

     PAYGo Gen 2 & 2.75, P4 & P5                              Broadband Gen 2 & 2.75, P4 & P5
                                                                                                Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 56 of 73




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Lifeline Short Wall Treatment (utilizing PAYGo or Broadband Fixtures)


     Broadband Gen.1, P2 (Option 1)                              Broadband Gen 1, P2 (Option 2)
                                                                                                  Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 57 of 73




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                                                                     57
                        Appendix
Cricket’s Typical Q4 Media Flighting
TRP levels reflect Tier 1




                                       South Maintain only

                                          Tier 1 only
                                                             Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 59 of 73




                                                             58
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Cricket’s Market Prioritization
EAST AREA: Growth Markets




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EAST AREA: OIBDA Markets




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SOUTH AREA: Maintain Markets
                                                          Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 63 of 73




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  SOUTH AREA: Regain Markets
                                                                              Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 64 of 73




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WEST AREA
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                              360 Communications Snapshot
              Q4 Muve Music
Q4 Muve Music Integration


       Brand Advertising (TV, OOH): Present Cricket as “Brand for Me"
       Continue to drive a positive perception by calling out unlimited music as a component
       of the total package . Muve is weaved in the creative in TV and HTC is the hero
       product.


         Promotional Communications (All Mediums): Stop and Consider
         Drive consideration and sales by calling out Muve Music and unlimited music (on
         HTC with Beats Audio where appropriate)-- all in one plan that provides the total
         package.



       Continuity Communications (Retail, Online): Drive the Transaction
       Educate shoppers on the superior Muve Music experience, provide opportunities to
       “see and believe,” build positive conversations and brand preference.
       
                                                                                                    Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 67 of 73




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Social Media: Build Brand Preference

                 KEY TAKEAWAYS:
      • “Cricket gives me the total package.”
           • $50/mo unlimited rate plan
              • Android smartphones
                                                 Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 68 of 73




                                                                               67
Social Media Messaging & Activations



              21-2.22-28                           22-29.22-36                         22-37.23-39



    MESSAGING:                             MESSAGING:                          MESSAGING:
    o Devices/$50/Muve                    o Black Friday Deals               oHoliday/Gift Giving Ideas
            o HTC One V/Desire                   o HTC                       oDevices/$50/Muve
            o iPhone 5                    o Devices/$50/Muve                        o HTC
            o ZTE Groove                         o Samsung Galaxy SIII              o Samsung Galaxy SIII
    oComparative – challenger                    o LG LW770                  oComparative – challenger
    o4G LTE: Vegas (geo-targeted)         oComparative – challenger
    oCricket and Muve Music sponsor       o4G LTE: PHX, TX, PHI (geo-
    The Next                               targeted)
    oIntroducing new Muve Music
    enhancements – Muve Radio and
    Facebook Integration
                                                                               ACTIVATIONS:
    ACTIVATIONS:                           ACTIVATIONS:                        oFacebook & Twitter
    oFacebook & Twitter                   oFacebook & Twitter                       o Samsung Galaxy SIII
    o Muve Music Up & Coming Artist       o Black Friday/Cyber Monday Look             Sweepstakes
       Challenge                              Book (social deals)                     o 12 Muve Artists for the Holiday
    oYouTube                              o Samsung Galaxy SIII                        Promotion
    o Videos: Comparative and The Next       Sweepstakes                      oYouTube
       content                             oYouTube                                  o Videos: Comparative and 12
                                                                                                                         Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 69 of 73




    oBloggers                             o Video: Muve Music educational              Muve Artists for the Holiday
           o Targeted Lifeline outreach   oBloggers                                    exclusive content
                                           o Black Friday                     oBloggers
                                                                                      o 12 Muve Artists for the Holiday
                                                                                      o Give the gift of music with
                                                                                         Cricket                         68
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                                                                                               69
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OOH- Houston Alt Option
Lifeline Talking Points

THE IDEA BEHIND THIS PROMOTION IS:
Head to Cricket Wireless where qualified customers can save on their wireless bill, every month, with government-
assisted Lifeline Credit.

SOME THOUGHT STARTERS ARE:
These are meant to give you some ideas for how to work Cricket into your conversation. Injecting your personality is
welcome. It is not necessary to use the Thought-Starters verbatim, but feel free.

Thought Starter 1 – Hard to Get By Without a Cellphone

These days, it’s hard to get by without a cellphone. Problem is, they can be expensive and come with long-term
contracts. That’s where Cricket and government-assisted Lifeline Credit can help. With unlimited, no-contract plans as
low as $1 a month after applying your Lifeline Creditso you can stay connected for less.

Thought Starter 2 – Lifeline
A cellphone is more than a convenience. It’s your lifeline to work schooland family. That’s why Cricket Wireless
offers government-assisted Lifeline Credit – with plans as low as $1 a month – to help you save money and stay
connected.

Thought Starter 3 – Lose the Landline, Gain a Lifeline
                                                                                                                                Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 71 of 73




Switch your landline for Lifeline. With a government-assisted Lifeline Credit from Cricket, you can get a monthly credit
towards your (Cricket) wireless bill – giving you everything you need to stay connected – with plans as low as $1 a
month.


                                                                                                                           70
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Lifeline Talking Points (cont.)

FACTS TO INCLUDE WHEN TALKING ABOUT CRICKET AND LIFELINE:
These are the reasons why people should take advantage of the offer. Use as many of them as you can.

•   Cricket provides nationwide unlimited, data, talk and text plans with no contract. Lifeline Credit saves money on
     any of these plans, and on any phone (including smartphones).

•   To find out if you qualify for Lifeline Credit savings, go to your Cricket store.

•   You may automatically qualify for Lifeline Credit if you are enrolled in any of these government-assistance
     programs: Bureau of Indian Affairs General Assistance, FDRIP, Head Start, LIHEAP, Medicaid, SNAP, SSI, NSLP,
     TANF, Section 8, Tribally Administered TANF.

•   You may also qualify if your income meets certain guidelines.

•   Choose any plan you want and get a monthly Lifeline credit towards your bill.

•   Choose any phone you want – including a smartphone.

•   Cricket gives you nationwide unlimited data, talk and text plans with no contract.

•   Right now, you can get nationwide unlimited, data, talk and text for as low as $1 a month with Lifeline Credit
                                                                                                                              Case 3:19-cv-07270-WHA Document 334-5 Filed 09/23/21 Page 72 of 73




     applied to your monthly bill.

LEGAL
Cricket Lifeline is a government assistance program only available for eligible customers. Limit one per household.
See store for details.                                                                                                   71
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